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                              IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON

                                         PENDLETON DIVISION



SHAWNA COX, and those similarly
situated, and those real parties to be
joined as their names become known,
                                                                        No. 2:17-cv-00121-SU
                Plaintiffs,
                                                                                JUDGMENT
       v.

UNITED STATES OF AMERICA, and
JOHN DOES 1-100,

                Respondents.



MOSMAN, J.,

       Based upon my Opinion and Order, IT IS ORDERED AND ADJUDGED that Plaintiffs’

Motion to Remand [5] is DENIED, and the United States’ Motion to Dismiss [4] is GRANTED.

Pending motions, if any, are DENIED AS MOOT, and this case is DISMISSED with prejudice.

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       DATED this ______ day of July, 2017.




                                                         /s/ Michael W. Mosman
                                                         ____________________________
                                                         MICHAEL W. MOSMAN
                                                         Chief United States District Judge




1 – JUDGMENT
